                        Case: 23-5600         Document: 4         Filed: 06/30/2023     Page: 1
                                         UNITED STATES COURT OF APPEALS
                                              FOR THE SIXTH CIRCUIT

                                            Appearance of Counsel
            23-5600
Appeal No.: ___________________________________

            L.W., et al.,                           Jonathan Skrmetti, et al.
Case Title: _____________________________________vs.______________________________________



List all clients you represent in this appeal:
All Defendants-Appellants: Jonathan Thomas Skrmetti; Tennessee Department Of Health;
Ralph Alvarado; Tennessee Board Of Medical Examiners; Melanie Blake; Stephen Loyd;
Randall E. Pearson; Phyllis E. Miller; Samantha McLerran; Keith G. Anderson; Deborah
Christiansen; John W. Hale; John J. McGraw; Robert Ellis; James Diaz-Barriga; Jennifer
Claxton; and Logan Grant.


         ✔ Appellant
         ‫܆‬                       ‫ ܆‬Petitioner             ‫ ܆‬Amicus Curiae               ‫܆‬Criminal Justice Act
         ‫ ܆‬Appellee              ‫ ܆‬Respondent             ‫ ܆‬Intervenor                        (Appointed)

✔ Check if a party is represented by more than one attorney.
‫܆‬
✔ Check if you are lead counsel.
‫܆‬

If you are substituting for another counsel, include that attorney’s name here:



By filing this form, I certify my admission and/or eligibility to file in this court.

               Clark L. Hildabrand
Attorney Name: ________________________________               Clark L. Hildabrand
                                                Signature: s/_______________________________

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Please ensure your contact information above matches your PACER contact information. If necessary, update
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                                                 CERTIFICATE OF SERVICE

  The electronic signature above certifies that all parties or their counsel of record have been electronically
  served with this document as of the date of filing.


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